                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN
                            MILWAUKEE DIVISION
Kathy Pritchard,
                                                       Case No. 2:10-cv-882
       Plaintiff,

v.
                                                           NOTICE OF DISMISSAL
Omni Credit Services, Inc.,                                  WITH PREJUDICE

       Defendant.

       Now comes Plaintiff, through counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),

hereby dismisses the present action with prejudice. This notice is being filed before Defendant

has served an answer and therefore is appropriate for dismissal absent stipulation by all parties.



                                              RESPECTFULLY SUBMITTED,

                                              Legal Helpers, P.C.

                                              By:      /s/ Timothy J. Sostrin
                                                    Timothy J. Sostrin
                                                    233 S. Wacker Drive, Suite 5150
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2011, I electronically filed the foregoing Notice.

Service of this filing will be made by the Court’s CM/ECF system upon the following:

Omni Credit Services, Inc.
c/o Gregory J. Straub, Registered Agent
333 Bishops Way
Brookfield, WI 53005


                                                             /s/ Timothy J. Sostrin




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